              Case 2:15-cr-00235-TLN Document 235 Filed 12/28/16 Page 1 of 2



 1   PHILLIP A. TALBERT
     United States Attorney
 2   MICHAEL M. BECKWITH
     TODD A. PICKLES
 3   KEVIN C. KHASIGIAN
     Assistant U. S. Attorneys
 4   501 I Street, Suite 10-100
     Sacramento, CA 95814
 5   Telephone: (916) 554-2700

 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            2:15-CR-00235-TLN
12                  Plaintiff,
                                                          STIPULATION AND ORDER TO
13          v.                                            CONTINUE THE FORFEITURE HEARING
                                                          FROM JANUARY 26, 2017 TO FEBRUARY
14   DUMITRU MARTIN,                                      16, 2017
15                  Defendant.
16

17          The United States and defendant Dumitru Martin hereby request the Court to continue the

18 forfeiture hearing from January 26, 2017 to February 16, 2017 to at 9:30 a.m., to consolidate any

19 forfeiture hearing with Martin’s sentencing proceedings.

20          On August 31, 2016, Martin was found guilty of conspiracy to commit bribery and bribery of a

21 public official. Martin’s sentencing is currently scheduled for January 26, 2017 at 9:30 a.m. The United

22 States is seeking forfeiture of $100,000 wired to a U.S. Bank Account. The Court entered a Preliminary

23 Order of Forfeiture on September 22, 2016, forfeiting the interest of Martin’s co-defendants in this asset.

24          IT IS SO STIULATED.

25 Dated: 12/27/2016                                     PHILLIP A. TALBERT
                                                         United States Attorney
26

27                                                By:    /s/ Kevin C. Khasigian
                                                         KEVIN C. KHASIGIAN
28                                                       Assistant U.S. Attorney
                                                         1
                                                                                     Stipulation and Order to Continue
                                                                                     Forfeiture Hearing
               Case 2:15-cr-00235-TLN Document 235 Filed 12/28/16 Page 2 of 2



 1 Dated:    12/27/2016                                   /s/ John Balazs
                                                         JOHN BALAZS
 2                                                       Attorney for Defendant
 3                                                       (Authorized by phone)
 4

 5                                                   ORDER
 6          Pursuant to the parties’ request, the Court makes the following order:
 7          The Forfeiture Hearing is hereby continued from January 26, 2017 to February 16, 2017 at
 8 9:30 a.m.

 9          IT IS SO ORDERED.
10 Dated: December 27, 2016

11                                                             Troy L. Nunley
                                                               United States District Judge
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         2
                                                                                     Stipulation and Order to Continue
                                                                                     Forfeiture Hearing
